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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS
EARPLUG PRODUCTS                        Case No. 3:19md2885
LIABILITY LITIGATION

This Document Relates to:               Judge M. Casey Rodgers
                                        Magistrate Judge Gary R. Jones
BRANDON ADKINS
Civil Action No.: 7:20cv00012-MCR-GRJ

CHARLES JOHNSON
Civil Action No.: 7:20cv54706-MCR-GRJ

JACOB SAYRE
Civil Action No.: 7:20cv48946-MCR-GRJ

RYNE THOMAS
Civil Action No.: 7:20cv49130-MCR-GRJ

DAX WALLACE
Civil Action No.: 7:20cv49224-MCR-GRJ

WILLIAM KAISER
Civil Action No.: 7:20cv49295-MCR-GRJ

DANIEL ABENS
Civil Action No.: 7:20cv52017-MCR-GRJ

CHRISTOPHER ALBERTSON
Civil Action No.: 7:20cv52063-MCR-GRJ

JEFFERY BOGGS
Civil Action No.: 7:20cv52293-MCR-GRJ

DAVID COMBS
Civil Action No.: 7:20cv53187-MCR-GRJ

DEXTER MCDUFFIE
Civil Action No.: 7:20cv55789-MCR-GRJ
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BRIAN WHITAKER
Civil Action No.: 7:20cv49276-MCR-GRJ

COREAN PEARSON-MURRAY
Civil Action No.: 7:20cv56069-MCR-GRJ

DWAYNE KIMMEL
Civil Action No.: 7:20cv55559-MCR-GRJ

JONATHAN FILOMENO
Civil Action No.: 7:21cv29530-MCR-GRJ

JEREMIAH JONES
Civil Action No.: 7:21cv32385-MCR-GRJ

CANDICE LIMA
Civil Action No.: 7:20cv75664-MCR-GRJ

THOMAS MILLER
Civil Action No.: 7:20cv00440-MCR-GRJ

KYLE STOLZ
Civil Action No.: 7:21cv33871-MCR-GRJ

ADAM STRADER
Civil Action No.: 7:20cv49076-MCR-GRJ


  NOTICE OF WITHDRAWAL OF COUNSEL PURSUANT TO LOCAL
 RULE 11.1(H)(1)(b) AND REQUEST FOR REMOVAL FROM SERVICE
                             LIST

      PLEASE TAKE NOTICE that Katie Caminati from the law firm Bailey

Cowan Heckaman PLLC hereby withdraws as attorney of record for Plaintiffs in the

above referenced multi-district litigation and individual cases, and should be

removed from the docket and electronic service list accordingly. As required by
                                       2
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Local Rule 11.1(H)(1)(b), Plaintiffs consent to this withdrawal, and the withdrawal

will leave Plaintiffs with counsel of record who will continue in the case.

Dated: May 30, 2023             Respectfully submitted,

                                BAILEY COWAN HECKAMAN PLLC

                                /s/ Katie Caminati
                                Katie Caminati
                                Texas Bar No. 24098079
                                Four Oaks Place
                                1360 Post Oak Blvd., Suite 2300
                                Houston, TX 77056
                                713-425-7100 Telephone
                                713-425-7101 Facsimile
                                kcaminati@bchlaw.com

                                Attorney for Plaintiffs


                         CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of May, 2023, a true and correct copy of

the foregoing was electronically filed with the Clerk of Court and served using the

court’s CM/ECF system.

                                /s/ Katie Caminati
                                Katie Caminati




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